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                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF MISSOURI
                                     EASTERN DIVISION

S.L., a minor, by next friend                     )
RON LENDERMAN,                                    )
                                                  )
             Plaintiff,                           )
                                                  )
       vs.                                        )         Case No. 4:10-CV-2163 (CEJ)
                                                  )
ST. LOUIS METROPOLITAN POLICE                     )
DEPARTMENT BOARD OF                               )
COMMISSIONERS, et al.,                            )
                                                  )
             Defendants.                          )


                                 ORDER RELATING TO TRIAL


      This action is set for a JURY trial on Monday, July 7, 2014, at 9:00 a.m.

       Pursuant to Local Rule 8.04 the court may tax against one or all parties the per
diem, mileage, and other expenses of providing a jury for the parties, when the case
is terminated or settled by the parties at a time too late to cancel the jury attendance
or to use the summoned jurors in another trial.

      The deadline for filing a motion to change the trial date is October 24,
2013.   No motion filed after this deadline will be considered unless
exceptional circumstances are shown.

      In this case, unless otherwise ordered by the Court, the attorneys shall,
not less than thirty (30) days prior to the date set for trial:

      1.        Stipulation: Meet and jointly prepare and file with the Clerk a JOINT
                Stipulation of all uncontested facts, which may be read into evidence
                subject to any objections of any party set forth in said stipulation
                (including a brief summary of the case which may be used on Voir Dire).

      2.        Witnesses:

                (a)       Deliver to opposing counsel, and to the Clerk, a list of all proposed
                          witnesses, identifying those witnesses who will be called to testify
                          and those who may be called.

                (b)       Except for good cause shown, no party will be permitted to call any
                          witnesses not listed in compliance with this Order.
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     3.    Exhibits:

           (a)    Mark for identification all exhibits to be offered in evidence at the
                  trial (Plaintiffs to use Arabic numerals and defendants to use
                  letters, e.g., Pltf-1, Deft-A, or Pltf Jones-1, Deft Smith-A, if there
                  is more than one plaintiff or defendant), and deliver to opposing
                  counsel and to the Clerk a list of such exhibits, identifying those
                  that will be introduced into evidence and those that may be
                  introduced. The list shall clearly indicate for each business record
                  whether the proponent seeks to authenticate the business record
                  by affidavit or declaration pursuant to Fed.R.Evid. 902(11) or
                  902(12).

           (b)    Submit said exhibits or true copies thereof, and copies of all
                  affidavits or declarations pursuant to Fed.R.Evid. 902(11) or
                  902(12), to opposing counsel for examination. Prior to trial, the
                  parties shall stipulate which exhibits may be introduced without
                  objection or preliminary identification, and shall file written
                  objections to all other exhibits.

           (c)    Except for good cause shown, no party will be permitted to offer
                  any exhibits not identified or not submitted by said party for
                  examination by opposing counsel in compliance with this Order.
                  Any objections not made in writing at least ten (10) days prior to
                  trial will be considered waived, unless excused by the Court for
                  good cause.

     4.    Depositions, Interrogatory Answers, and Request for Admissions:

           (a)    Deliver to opposing counsel and to the Clerk a list of all
                  interrogatory answers or parts thereof and depositions or parts
                  thereof (identified by page and line numbers), and answers to
                  requests for admissions proposed to be offered in evidence. At
                  least ten (10) days before trial, opposing counsel shall state in
                  writing any objections to such testimony and shall identify any
                  additional portions of such depositions not listed by the offering
                  party which opposing counsel proposes to offer.

           (b)    Except for good cause shown, no party will be permitted to offer
                  any interrogatory answer, or deposition or part thereof, or answer
                  to a request for admissions not listed in compliance with this
                  Order. Any objections not made as above required may be
                  considered waived.

     5.    Instructions: Submit to the Court and to opposing counsel their written
           request for instructions and forms of verdicts reserving the right to
           submit requests for additional or modified instructions at least ten (10)
           days before trial in light of opposing party’s requests for instructions.
           (Each request must be supported by at least one pertinent citation.)

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             WHERE APPLICABLE, THE COURT PREFERS TO USE EIGHTH
             CIRCUIT MODEL CIVIL JURY INSTRUCTIONS.

      6.     Trial Brief: Submit to the Court and opposing counsel a trial brief
             stating the legal and factual issues and authorities relied on and
             discussing any anticipated substantive or procedural problems.

      7.     Motions In Limine: File all motions in limine to exclude evidence at
             least twenty (20) days before trial.

      8.     Opening Statements: Except for good cause shown, opening
             statements, if any, shall be limited to fifteen minutes per party, except
             that multiple parties on one side of a case who are represented by the
             same counsel shall jointly have fifteen minutes for opening statements.

       9.    A list of prospective jurors will be distributed to counsel in the courtroom
             before the voir dire examination begins. This list may not be removed
             from the courtroom nor may it be provided to anyone outside the
             courtroom. Photocopying, photographing, and all other forms of
             imaging or duplicating the list are strictly prohibited.

      III.   Privacy Protection

      Pursuant to the E-Government Act of 2002, as amended, Rule 5.2(a),
Fed.R.Civ.P., and Local Rule 2.17(A), E.D.Mo. L.R., the following personal identifiers
must be omitted or partially redacted from any publicly-filed documents: social security
numbers, names of minor children, dates of birth, financial account numbers, and
home addresses of non-parties. No pleading or other document may be filed that
is not in compliance with the E-Government Act.


      Dated this 10th day of October, 2013.




                                        __________________________
                                        CAROL E. JACKSON
                                        UNITED STATES DISTRICT JUDGE




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